Exhibit 36
                                  PISTOLS         R E V O LV E R S    RIFLES         CUSTOM SHOP             ACCESSORIES                FIREARM SEARC




                                                         RETAILER LOCATOR

           To locate an independent retailer of Ruger® firearms, simply enter the zip code for the area you want to search, select the desired search radi
           click submit. Availability of Ruger® products varies from store to store, and hours of operation are subject to change without notice, so pleas
           the store before visiting. Results include United States retail locations only. International Customers, visit our INTERNATIONAL RESOURCES



Zip Code 01760        Select Radius      100 miles           Search by Zip Code           Search Using My Current Location




NATICK OUTDOOR STORE - 0 miles                                            MASS FIREARMS SCHOOL - 7 miles
38 N. AVE                                                                 100 KUNIHOLM DRIVE
NATICK, MA 01760 (map)                                                    HOLLISTON, MA 01746 (map)
Phone: 508-653-9400                                                       Phone: 800-308-6212
Website: http://www.natickoutdoor.com                                     Website: http://massfirearms.com/




LAW ENFORCEMENT EQUIPMENT - 8 miles                                       THE NORWOOD ARMORY - 10 miles
305 RIVER ST                                                              1095 PLEASANT ST
WALTHAM, MA 02453 (map)                                                   NORWOOD, MA 02062 (map)
Phone: 781-894-2879                                                       Phone: 781-769-4587
                                                                          Website: http://www.norwoodarmory.net/




FIN & FEATHER SPORTS OF UPTON - 14 miles                                  CABELA'S - 15 miles
10 MILFORD ST                                                             44 HIGHLAND COMMON EAST
RT 140                                                                    BERLIN, MA 01503 (map)
UPTON, MA 01568 (map)                                                     Phone: 978-212-6200
Phone: 508-529-3901                                                       Website: http://www.cabelas.com/
Website: http://www.finandfeathersports.com




FOUR SEASONS FIREARMS - 16 miles                                          THE SPORTSMAN'S DEN - 17 miles
76 WINN ST #R                                                             666 SOUTHERN ARTERY
WOBURN, MA 01801-2895 (map)                                               QUINCY, MA 02169 (map)
Phone: 781-932-3133                                                       Phone: 617-770-3884
Website: http://www.fsguns.com                                            Website: http://www.thesportsmansden.net




THE COLLECTORS COIN GALLERY INC - 17 miles                                IDC FIREARMS - 19 miles
89 HANCOCK ST                                                             627 HIGH STREET
STE B                                                                     CLINTON, MA 01510 (map)
     
STONEHAM,RUGER
          MA 02180-2648
               SAFETY (map)           
                                   TELL THE CEO                            CUSTOMER
                                                                          Phone:          SERVICE
                                                                                 978-365-9353                   
                                                                                                              INSTRUCTION MANUALS
                                                                          Website: http://www.idcfirearms.com
Phone: 781-438-4013
Website: http://www.collectorsguns.com



MIKE'S GUN SHOP, INC. - 19 miles                      OUTER LIMITS PRO-SHOP - 20 miles
1 PLUMMERS CORNER                                     148 CENTRE STREET
WHITINSVILLE, MA 01588 (map)                          HOLBROOK, MA 02343 (map)
                                                      Phone: 781-767-0046
                                                      Website: http://outerlimitsproshop.com




THE GUN PARLOR - 21 miles                             HUNTER'S TRADING POST - 21 miles
210 SUMMER ST                                         287 WASHINGTON ST
WORCESTER, MA 01604 (map)                             WEYMOUTH, MA 02188 (map)
Phone: 508-982-0722                                   Phone: 781-331-1151
                                                      Website: http://htpltd.com/




BULLSEYE SHOOTING SUPPLIES INC - 21 miles             FIRST DEFENSE FIREARMS - 21 miles
837 PARK AVE                                          6 N MAIN ST.
WOONSOCKET, RI 02895-5872 (map)                       SUITE 202B
Phone: 401-766-4409                                   UXBRIDGE, MA 01569-1871 (map)
Website: http://www.bullseyeshootingsupplies.com      Phone: 508-278-6844
                                                      Website: http://firstdefensefirearms.com




STONEY ACRE SPORTS - 23 miles                         F. B. KRAUSE & SONS INC - 24 miles
437 MENDON RD                                         322 LINCOLN ST
SUTTON, MA 01590 (map)                                HINGHAM, MA 02043-1722 (map)
Phone: 508-865-4401                                   Phone: 781-749-1303




HITMAN FIREARMS - 25 miles                            ON TARGET TRAINING, INC. - 27 miles
404 MIDDESEX ROAD                                     516 NORTH BEDFORD STREET
#5                                                    EAST BRIDGEWATER, MA 02333 (map)
TYNGSBOROUGH, MA 01879 (map)                          Phone: 508-456-1093
Phone: 978-649-4867                                   Website: HTTP://WWW.ONTARGETTRAINING.US




ROYAL ARMS - 29 miles                                 BOBS GUN & ARCHERY PRO SHOP - 30 miles
147 S. RD                                             144 GORE RD
PEPPERELL, MA 01463 (map)                             WEBSTER, MA 01570 (map)
Phone: 978-433-9458                                   Phone: 508-943-6309
                                                      Website: http://www.bobga.com




      RUGER SAFETY                 TELL THE CEO
BIG BEAR HUNTING & FISHING SUPPLY - 30 miles        BRIAND SPORT SHOP - 30 miles 
                                                       CUSTOMER SERVICE             INSTRUCTION MANUALS
401 PUTNAM PIKE                                      18 WALTHAM DR
HARMONY, RI 02829 (map)                              NASHUA, NH 03060 (map)
Phone: 401-949-0339                                  Phone: 603-888-1717
Website: http://www.bigbearhuntingandfirearms.com




PHEASANT RIDGE ENTERPRISES - 31 miles                PETE'S GUN & TACKLE - 32 miles
204 TAUNTON AVE RTE 44                               2 DRACUT RD
SEEKONK, MA 02771 (map)                              HUDSON, NH 03051 (map)
Phone: 508-366-4867                                  Phone: 603-889-0684
Website: http://www.pheasantridgeguns.com            Website: http://www.petesgunandtackle.com




SPORTSMAN'S OUTFITTER INC - 34 miles                 GUN & SPORT NORTH - 35 miles
76 PADELFORD ST                                      488 S. BROADWAY
BERKLEY, MA 02779 (map)                              SALEM, NH 03079 (map)
Phone: 508-823-0442                                  Phone: 603-952-4675
                                                     Website: http://www.gunandsportnorth.com




TACTICAL WORKBENCH - 35 miles                        IRON GATE FIREARMS - 36 miles
282 MAIN ST                                          50 HAVERHILL RD UNIT #4
SUITE 104                                            WINDHAM, NH 03087 (map)
SALEM, NH 03079 (map)                                Phone: 603-770-2525
Phone: 603-520-8382




PATRIOT ARMS OF NEW ENGLAND - 37 miles               MIDDLEBORO GUN SHOP - 37 miles
77 TURNPIKE RD                                       194 EAST GROVE STREET
IPSWICH, MA 01938 (map)                              MIDDLEBORO, MA 02346 (map)
Phone: 978-356-1908                                  Phone: 508-947-5900
Website: http://www.patriotarmsofne.com              Website: http://www.middleborogunshop.com




BROPHY'S FINE FIREARMS INC. - 37 miles               POST ROAD GUNS - 37 miles
121 WOOD STREET                                      2158 PLAINFIELD PIKE
MIDDLEBORO, MA 02346 (map)                           STE 4
Phone: 833-276-7497                                  CRANSTON, RI 02921-2018 (map)
Website: http://www.brophyguns.com                   Phone: 401-464-8228




COMMONWEALTH FIREARMS AND TRAIL - 38 miles           TOMBSTONE TRADING CO - 38 miles
1016 COUNTY ST                                       1 POST RD
SOMERSET, MA 02726 (map)                             BROOKFIELD, MA 01506 (map)
Phone: 774-294-5445                                  Phone: 508-867-6800


      RUGER SAFETY               TELL THE CEO      CUSTOMER SERVICE                INSTRUCTION MANUALS
FOSTER BEAR ARMS TRADING POST - 39 miles          MERRIMACK FIREARMS - 39 miles
52 DANIELSON PIKE                                 416 D W HIGHWAY
FOSTER, RI 02825 (map)                            MERRIMACK, NH 03054 (map)
Phone: 401-647-4867                               Phone: 603-424-4867
Website: http://www.fosterguns.com                Website: http://www.nhgunshop.com




MILFORD FIREARMS - 40 miles                       BYRON SPORTING GOODS - 40 miles
286 ELM ST                                        111 PLAISTOW RD
STE 3                                             #2
MILFORD, NH 03055 (map)                           PLAISTOW, NH 03865-2829 (map)
Phone: 603-672-1001                               Phone: 603-974-2071
                                                  Website: http://byronssportinggoods.com




STATELINE GUNS & AMMO - 40 miles                  D & L SHOOTING SUPPLIES INC - 40 miles
153 PLAISTOW RD                                   3314 W SHORE RD
PLASTOW, NH 03865 (map)                           WARWICK, RI 02886 (map)
Phone: 603-382-4131                               Phone: 401-738-1889
Website: http://www.statelineguns.com             Website: http://www.dlshootingsupplies.com




GREAT NORTHERN SPORTS CENTER - 41 miles           AL'S GUN & REEL SHOP, INC. - 41 miles
237 ROCKINGHAM RD                                 5 LINWOOD AVE
DERRY, NH 03038-4520 (map)                        DERRY, NH 03038 (map)
Phone: 603-432-3742                               Phone: 603-432-2708




CHESTER ARMS, LLC - 41 miles                      WHISKEY HILL SPORTS - 44 miles
115 BY-PASS 28                                    P.O. BOX 558220 WARE RD
DERRY, NH 03038 (map)                             WEST WARREN, MA 01092 (map)
Phone: 603-235-4169                               Phone: 413-436-5885
Website: http://www.chesterarmsllc.com            Website: http://www.whiskeyhillsports.com




MANCHESTER FIRING LINE RANGE - 45 miles           JAMES L MCLOUD & SONS - 45 miles
2540 BROWN AVE.                                   2540 BROWN AVE
MANCHESTER, NH 03103-6815 (map)                   MANCHESTER, NH 03103 (map)
Phone: 603-668-9015                               Phone: 603-668-9015
Website: http://www.gunsnh.com                    Website: http://www.gunsnh.com




AMERICAN WEAPON SYSTEMS - 45 miles                COSTA ARMS - 45 miles
16 SOUTH WOODBOUND RD                             15 CHURCH ST
RINDGE, NHRUGER
           03461 (map)                            KINGSTON,  NH SERVICE
                                                                03848-3009 (map)
                SAFETY           TELL THE CEO     CUSTOMER
                                                  Phone: 603-642-8677
                                                                                  INSTRUCTION MANUALS
Phone: 603-899-8400
Website: http://www.americanweaponsystems.com




M & M PLYMOUTH BAY OUTFITTERS - 46 miles              WILDLIFE TAXIDERMY SPORT - 47 miles
6 MAIN ST.                                            2188 CANDIA RD
PLYMOUTH, MA 02360 (map)                              MANCHESTER, NH 03109-5703 (map)
Phone: 508-747-6338                                   Phone: 603-625-9958




SAKONNET RIVER OUTFITTERS - 47 miles                  CRANSTON GUN & COIN - 48 miles
404 MAIN RD                                           6595 POST ROAD
P O BOX 593                                           NORTH KINGSTOWN, RI 02852-1831 (map)
TIVERTON, RI 02878 (map)                              Phone: 401-885-8474
Phone: 401-816-0815                                   Website: http://www.cgcri.com
Website: https://sakonnetriveroutfitters.com/




VILLAGE SPORTS - 48 miles                             SHOOTING SUPPLY - 48 miles
737 STATE ROAD                                        848 STATE ROAD
WESTPORT, MA 02790 (map)                              WESTPORT, MA 02790 (map)
Phone: 508-672-4284                                   Phone: 774-319-5477
Website: https://www.village-sports.com




NICKS SPORT SHOP INC - 49 miles                       FTS GUNS - 50 miles
1029 PARK ST                                          700 PLEASANT ST., SUITE LL2
PALMER, MA 01069-1711 (map)                           NEW BEDFORD, MA 02740 (map)
Phone: 413-283-3920                                   Phone: 508-388-9840
                                                      Website: http://www.ftsguns.com




PAWTUCKAWAY TRADING POST - 51 miles                   PELLETIERS SPORT SHOP - 51 miles
61 NH-27 COZY CORNER                                  105 PETERBOROUGH ST RT 202
PLAZA #6                                              JAFFREY, NH 03452-6830 (map)
RAYMOND, NH 03077 (map)                               Phone: 603-532-7180
Phone: 603-244-2463                                   Website: http://www.pelletiersports.biz
Website: https://www.pawtuckawaytradingpost.com




BUCK-RUB SPORTING GOODS - 53 miles                    R & R SPORT SHOP - 53 miles
164 E. MAIN ST                                        16 FEDERAL ST
ORANGE, MA 01364-1219 (map)                           RT 9 & 202
Phone: 978-544-2145                                   BELCHERTOWN, MA 01007 (map)
                                                      Phone: 413-323-6785
                                                      Website: http://www.randrsportshop.net



       RUGER SAFETY                 TELL THE CEO    CUSTOMER SERVICE                INSTRUCTION MANUALS
RON'S SPORT SHOP - 53 miles                           RILEYS SPORT SHOP - 54 miles
13 B RUSSELLS MILLS RD                              1575 HOOKSETT RD
S. DARTMOUTH, MA 02748 (map)                        #2
Phone: 508-994-8211                                 HOOKSETT, NH 03106-1687 (map)
                                                    Phone: 603-485-5000
                                                    Website: http://www.rileysguns.com




SHOOTERS OUTPOST - 54 miles                         LEWIS ARMS LLC - 59 miles
1158 HOOKSETT RD                                    550 RT 3A
HOOKSETT, NH 03106 (map)                            BOW, NH 03304-3211 (map)
Phone: 603-232-6125                                 Phone: 603-228-9994
Website: https://outpostnh.com/                     Website: http://www.lewisarms.homestead.com




UNIVERSAL FIREARMS LTD - 60 miles                   FREEDOM SPORTS AND ARMS - 60 miles
265 MAIN ST                                         236 HIGH STREET
WAKEFIELD, RI 02879-3527 (map)                      WAKEFIELD, RI 02879 (map)
Phone: 401-782-4867                                 Phone: 401-782-1140
Website: http://www.universalfirearms.com




TRADER JOHNS GUN SHOP - 60 miles                    REVERE ARMS - 61 miles
10 KEENE RD                                         4 RIVERVIEW RD
WINCHESTER, NH 03470-2325 (map)                     DURHAM, NH 03824 (map)
Phone: 603-239-4032                                 Phone: 603-617-9861
Website: http://www.traderjohns.com                 Website: http://www.reverearms.com




CENTER SPORTS - 64 miles                            MORSE SPORTING GOODS - 64 miles
3 ORLANDO DR RT 66                                  85 CONTOOCOOK FALLS RD
COLUMBIA, CT 06237 (map)                            HILLSBORO, NH 03244-5521 (map)
Phone: 860-228-1666                                 Phone: 603-464-3444
Website: http://www.centersportsct.com              Website: http://www.morsesporting.com




KITTERY TRADING POST - 64 miles                     INDIAN VILLAGE FIREARMS - 65 miles
301 US RT 1                                         283 ROUTES 202 & 9
KITTERY, ME 03904-5510 (map)                        BARRINGTON, NH 03825 (map)
Phone: 207-439-2700                                 Phone: 603-664-9972
Website: http://www.ktp.com                         Website: http://www.indianvillagefirearms.com




SHERWOOD SHOOTERS SUPPLY - 66 miles                 GUNS AND GEAR LLC - 66 miles
55 KNOX MARSH RD                                    168 ELM ST.
DOVER, NH 03820 (map)                               AGAWAM, MA 01001 (map)
Phone: 603-742-0463                                 Phone: 413-786-0100
                                                    Website: http://www.gunsandgearllc.com
      RUGER SAFETY                TELL THE CEO    CUSTOMER SERVICE               INSTRUCTION MANUALS
GUNS INC - 66 miles                                 AMERICAN TRIKE AND MOTORSPORTS - 67 miles
738 MAIN ST                                         223 WINCHESTER STREET
WEST SPRINGFIELD, MA 01089-3936 (map)               KEENE, NH 03431 (map)
Phone: 413-731-7666                                 Phone: 603-354-7740
Website: http://www.guns-inc.com




THE POWDERHORN - 69 miles                           KC SMALL ARMS - 70 miles
210 BARNSTABLE RD                                   412 MAIN STREET
HYANNIS, MA 02601-2930 (map)                        EASTHAMPTON, MA 01027 (map)
Phone: 508-775-8975                                 Phone: 413-284-4739
                                                    Website: https://www.kcsmallarms.com




RENAISSANCE FIREARMS LLC - 70 miles                 MARSHALL FIREARMS INC - 71 miles
19 MAIN ST                                          154 N. MAIN ST
GONIC, NH 03839-5255 (map)                          BOSCAWEN, NH 03303-1121 (map)
Phone: 800-399-4116                                 Phone: 603-753-4313
Website: http://www.renarms.com




COYOTE CREEK OUTFITTERS - 72 miles                  GOLD & THINGS TRADING CENTER - 72 miles
22 FARMINGTON RD                                    50 SOUTH MAIN ST
ROCHESTER, NH 03867 (map)                           ROCHESTER, NH 03867 (map)
Phone: 603-332-3270                                 Phone: 603-332-1551
Website: http://www.coyote-creek-outfitters.com




B & G SPORTING INC - 73 miles                       THE OUTDOOR SHOP INC - 73 miles
1460 RUSSELL RD                                     50 LONG POND DR
WESTFIELD, MA 01085-2123 (map)                      SOUTH YARMOUTH, MA 02664 (map)
Phone: 413-568-7569                                 Phone: 508-394-3819
                                                    Website: http://www.odsguns.com




CABELA'S - 74 miles                                 THE AMMO DUMP - 75 miles
475 E HARTFORD BLVD N                               422 SPRING STREET
EAST HARTFORD, CT 06118 (map)                       FARMINGTON, NH 03835 (map)
Phone: 860-290-6200                                 Phone: 603-755-9800
Website: http://www.cabelas.com/




ALSTEAD GUN SHOP INC - 76 miles                     BARN STORE OF NEW ENGLAND - 77 miles
163 RIVER ST                                        96 OLD TURNPIKE RD
     
ALSTEAD, NHRUGER SAFETY(map)
             03602-0118             TELL THE CEO     CUSTOMER
                                                    SALISBURY, NHSERVICE
                                                                 03268 (map)       INSTRUCTION MANUALS
Phone: 603-835-6122                                                       Phone: 603-648-2888
                                                                          Website: http://www.barnstore.com




RONS GUNS - 77 miles                                                      GOOSE HUMMOCK - 80 miles
194 BOSTON POST RD                                                        15 RTE 6A BOX 57
EAST LYME, CT 06333 (map)                                                 ORLEANS, MA 02653 (map)
Phone: 860-739-6805                                                       Phone: 508-255-0455
                                                                          Website: http://www.goose.com




HOFFMAN'S GUN CENTER - 82 miles                                           NEWINGTON GUN EXCHANGE - 82 miles
2686 BERLIN TURNPIKE                                                      210 MARKET SQ
NEWINGTON, CT 06111 (map)                                                 NEWINGTON, CT 06111-2916 (map)
Phone: 860-666-8827                                                       Phone: 860-667-2658
Website: http://www.hoffgun.com                                           Website: http://www.gunexchangenewington.com



This retailer has various Ruger firearms on-site available for rental.


AVERY ARMS LLC - 82 miles                                                 SPORTING & HUNTING DEPOT - 84 miles
6 PEARSON RD                                                              11 WOODRISE RD
ALTON, NH 03809 (map)                                                     CHARLESTON, NH 03603 (map)
Phone: 603-875-3054                                                       Phone: 603-826-3535




STONEAGLE - 85 miles                                                      RODYS GUN SHOP - 85 miles
199 SUNAPEE ST                                                            3 CHATEAU DR
NEWPORT, NH 03773-1238 (map)                                              NEWPORT, NH 03773-1480 (map)
Phone: 603-863-6411                                                       Phone: 603-863-3356
Website: http://www.stoneagle.com




PINNACLE TACKLE - 85 miles                                                RUNNINGS - 88 miles
322 SUNAPEE STREET                                                        403 WASHINGTON STREET
NEWPORT, NH 03773 (map)                                                   CLAREMONT, NH 03743 (map)
Phone: 603-865-5411                                                       Phone: 603-542-1574
Website: http://www.pinnacletackle.com                                    Website: http://www.runnings.com/




THE GUN CLOSET - 90 miles                                                 WOLFS INDOOR RANGE - 91 miles
2 DOCKSIDE AVE                                                            597 MIDDLE STREET
WOLFEBORO, NH 03894 (map)                                                 BRISTOL, CT 06010 (map)
Phone: 603-569-6996                                                       Phone: 860-585-0447




         RUGER SAFETY                              TELL THE CEO         CUSTOMER SERVICE                INSTRUCTION MANUALS
JOJO'S GUN WORKS - 91 miles                         THE SEMI AUTO GUN SHOP - 92 miles
122 SPRING ST D9                                    518 MAIN ST.
SOUTHINGTON, CT 06489 (map)                         WINSTED, CT 06098 (map)
Phone: 860-426-9414                                 Phone: 860-738-1600
Website: http://www.jojosgunworks.com               Website: http://www.semi-autogunshop.com




NORTHEST SPORTING GOODS - 92 miles                  PETE'S GUN SHOP - 93 miles
178 ROWLEY ST                                       9 GROVE ST.
WINSTED, CT 06098 (map)                             ADAMS, MA 01220 (map)
Phone: 860-738-8999                                 Phone: 413-743-0780
                                                    Website: http://www.petesgunshop.com




SKIPS GUN SHOP - 94 miles                           BLUE TRAIL RANGE - 94 miles
837 LAKE ST                                         316 N. BRANFORD RD
BRISTOL, NH 03222-4506 (map)                        WALLINGFORD, CT 06492 (map)
Phone: 603-744-3100                                 Phone: 203-269-3280
Website: http://www.nhskip.com                      Website: http://www.bluetrailrange.com




CHRIS' INDOOR SHOOTING RANGE - 95 miles             SPORTSMENS OUTPOST - 96 miles
2458 BOSTON POST RD                                 415 WOLCOTT RD
GUILFORD, CT 06437-1354 (map)                       WOLCOTT, CT 06716-2613 (map)
Phone: 203-453-1570                                 Phone: 203-879-1139
Website: http://www.chrisindoorrange.net            Website: http://www.sportsmensoutpost.com




JOHNS FIREARMS LTD - 96 miles                       ICEBOX ARMORY, LLC - 97 miles
183 COUNTRY CLUB RD                                 368 GREENWOODS RD. WEST
TORRINGTON, CT 06790-3038 (map)                     NORFOLK, CT 06058 (map)
Phone: 860-482-7402                                 Phone: 860-307-8757




CONNECTICUT SPORTING ARMS - 98 miles                DAVES SPORTING GOODS INC - 99 miles
1179 FOXON RD                                       1164 NORTH ST
NORTH BRANFORD, CT 06471 (map)                      PITTSFIELD, MA 01201-1578 (map)
Phone: 203-484-7474                                 Phone: 413-442-2960
Website: http://www.connecticutsportingarms.com     Website: http://www.davessporting.com




AVID SPORTS - 99 miles
1575 W HOUSATONIC ST
STE D
PITTSFIELD, MA 01201 (map)
         RUGER SAFETY
Phone: 413-997-3600                TELL THE CEO    CUSTOMER SERVICE                INSTRUCTION MANUALS
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commercial sporting market. With products made in America, Ruger offers consumers almost 800 variations of
                                                                                                                           CONNECT W
                                                                                                                                RUG
more than 40 product lines. For more than 70 years, Ruger has been a model of corporate and community
responsibility. Our motto, "Arms Makers for Responsible Citizens®," echoes our commitment to these principles
as we work hard to deliver quality and innovative firearms.
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              RUGER SAFETY                        TELL THE CEO                         CUSTOMER SERVICE       INSTRUCTION MANUALS
